Case 17-21787-CMB       Doc 109    Filed 01/21/22 Entered 01/21/22 10:46:11           Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA
    In re:                                   )
                                             ) Bankruptcy No. 17-21787 CMB
    Rita Shine Bird                          )
                                             )
                               Debtor (s)    )
    Rita Shine Bird                          ) Chapter 13
                                             )
                               Movant(s)     ) Related to: Document Nos. 101 and 108
           v.                                ) Related to Doc. No. 101
                                             )
    PNC Bank, National Association           ) Hearing: 1/25/22 at 11:00 AM
                               Respondent(s) )

                                     ORDER OF COURT

                                 ________________________


                          21st
           AND NOW, this ___________          January
                                     day of _______________, 2022

           It is ORDERED that the Zoom Video Conference Hearing on the Objection to

                                                                March 22
    Notice of Mortgage Payment Change (DN 101) is continued to _______________, 2022
        11:00 a.m. via Zoom Video Conference Application.
    at __________.

                                               at 11:0
                                                   11:00a.m.
                                                athereby
    The hearing scheduled for January 25, 2022 is            isishereby
                                                          a.m.    herebyCANCELLED.
                                                          canceled.      CANCELLED.



                                                       By the Court:


                                                      ________________________
                                                      Carlota M. Böhm
                                                      ______________________________
                                                      Chief United States Bankruptcy Judge

                                                      United States Bankruptcy Judge
                                                      FILED
                                                      1/21/22 10:38 am
                                                      CLERK
                                                      U.S. BANKRUPTCY
                                                      COURT - WDPA
